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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                            Case No. 09-82448-CIV-RYSKAMP/VITUNAC


  ROBERT C. LEWIN, individually,                  )
  and BROWARD REHAB CENTER INC.                   )
                                                  )
                               Plaintiffs,        )
                                                  )
          v.                                      )
                                                  )
  RAFAEL FOSS, individually, 888-444-PAIN,        )
  INC. and ACCIDENT AND WELLNESS                  )
  CENTERS LLC                                     )
                                                  )
                      Defendants.                 )
  _____________________________________           /

                  JOINT STIPULATION TO APPROVE CONSENT
          FINAL JUDGMENT OF DAMAGES AND PERMANENT INJUNCTION

         The parties, Robert C. Lewin (“Lewin”) and Broward Rehab Center (“BRC”) (Lewin and

  BRC, collectively, “Plaintiffs”), and Rafael Foss (“Foss”), 888-444-PAIN, Inc., and Accident

  and Wellness Centers, LLC (collectively, the “Defendants”) hereby give notice that the above-

  captioned matter has been compromised and settled, pursuant to the terms of a confidential

  settlement agreement and the Consent Final Judgment of Damages and Permanent Injunction,

  which has been executed by the parties concerned and is attached hereto.         The parties

  respectfully ask that the Court enter the attached Consent Final Judgment of Damages and

  Permanent Injunction as a Final Judgment of this Court.


  Dated: May 11, 2010

  Respectfully submitted,

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  By:   s/Michael E. Tschupp________       By: s/J. Michael Huget(with express consent)
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on May 11, 2010, I filed the foregoing document with the Clerk of
  the Court. I also certify that the foregoing document is being served this day on all counsel of
  record or pro se parties identified on the attached Service List in the manner specified, either via
  transmission of Notices of Electronic Filing generated by CM/ECF or in some other authorized
  manner for those counsel or parties who are not authorized to receive electronically Notices of
  Electronic Filing.
                                                       s/Michael Tschupp
                                                       Michael Tschupp




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                                         SERVICE LIST
                                  Lewin, et al. versus Foss et al.
                           Case No. 09-82448-Civ-Ryskamp/Vitunac
                     United States District Court, Southern District of Florida


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